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                EXHIBIT 2
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    Blog    » Product » Asset Updates

    An Avalanche of Opportunities: Up to 17% Interest on AVAX & Lots More!
    Nov 3, 2021      2 min read

       Asset Updates




    There’s been a hefty amount of new assets added to Nexo lately. One could even say it’s been a bit of an avalanche, especially today
    when Avalanche’s AVAX is coming to Nexo. You can now buy, earn interest on, and borrow against your AVAX! Check it out:


        Buy: Buy AVAX on Nexo and get it in your wallet within seconds.

        Еarn: Receive up to 17% interest on AVAX, paid out daily.*

        Exchange: Swap your AVAX on the Nexo Exchange instantly.

        Borrow: Borrow against your AVAX from as low as 6.9% APR.


    * Nexo’s 17% interest on AVAX is a part of our launch promo. After February 3, 2022, our AVAX yields will be up to 14%. More
    information is available below.

    With the initial launch, Nexo clients will only be able to add AVAX to their accounts Nexo Wallets by purchasing assets through the
    Nexo Exchange. The Nexo Team is hard at work to bring you AVAX top-ups and withdrawals as soon as possible.



                                                                                                                         Chat with an Expert
    Nexo, Avalanche & Blockchain’s Multi-chain Future
https://nexo.io/blog/an-avalanche-of-opportunities-up-to-17-interest-on-avax-lots-more                                                          1/5
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    To achieve the functionality, speed, and scalability that our space needs to progress, it is imperative that we embrace the enormous
    benefits of a multi-chain system and explore All
                                                  the set. Share only
                                                       possibilities     withprotocols
                                                                     of many  your best  friends!
                                                                                       working   together to cater to our industry’s growing
    requirements. Nexo is partnering with Avalanche because it has not only built one of the fastest, most customizable DeFi ecosystems,
    but it is also developing a bridge to Ethereum thanks to its compatibility with the Solidity programming language, which will allow
    network participants to seamlessly connect and make transfers between the two chains.

    With Nexo’s new AVAX integration more and more users gain an efficient gateway to DeFi, giving them user-friendly exposure to
    Avalanche’s system and native token. On a larger scale, Nexo’s financial tools for AVAX provide liquidity for Avalanche’s ecosystem that
    will ultimately increase developer engagement helping the network thrive.




    Buy AVAX on Nexo
    AVAX is available for purchase directly on the Nexo Exchange. Skip the fumbling between exchanges and wallets, Nexo’s UI is expertly
    designed to let you buy Avalanche and get it directly in your account in seconds.

    Here are the available market pairs for Avalanche’s AVAX:

    AVAX/BTC
    AVAX/ETH
    AVAX/BNB
    AVAX/USDT
    AVAX/USDC
    AVAX/USDx
    AVAX/EURx
    AVAX/GBPx




    Earn on AVAX + the Current Promo
    With Nexo’s Earn Crypto Interest, your yield will be piling into your account like – you guessed it – an avalanche. We’re launching AVAX
    promo-style which means that until February 3, 2022, you can get up to 17% interest on the asset, paid out daily. After February 3,
    2022, the rates will go down by 3%, meaning our Avalanche yields will be up to 14% depending on your Loyalty tier.

    Simply top up and you’ll start earning Avalanche interest right away. The specific rates for each Loyalty tier are described below:


        Platinum: Маximum rate – 17%. Standard rate – 12%.

        Gold: Маximum rate – 16%. Standard rate – 10%.

        Silver: Маximum rate – 13.50%. Standard rate – 8.75%.

        Base: Маximum rate – 13%. Standard rate – 8%.


           Our maximum rates come from our standard interest combined with Fixed Terms which add up to 1% to your yield and Earn in NEXO which gi
           ves clients an extra up to 2% when opting to receive their payouts in NEXO Tokens.




    AVAX-backed Credit Lines
    Through Nexo’s flagship product the Instant Crypto Credit Lines™, you can now use AVAX as collateral to borrow cash or stablecoins at
    rates from just 6.9% APR.

    You can take out as little as $50 and up to $2 million whenever you want. AVAX credit lines are processed automatically and approved
    instantly. There are no credit checks, installments, or minimum repayments, which means you can repay your outstanding
                                                                                                                      Chatbalance
                                                                                                                              with an Expert
    partially or fully at any time.
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    About Avalanche
    Avalanche is an open-source platform for launching decentralized applications and enterprise blockchain deployments in one
    interoperable, highly scalable ecosystem. Avalanche is able to process 4,500+ transactions/second and instantly confirm transactions.
    Ethereum developers can quickly build on Avalanche as Solidity works out-of-the-box.

    Official website: avax.network




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